Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 1o0f14. PagelD #: 2326

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
ROBERT MERCER, )
) CASE NO. 1:23-cv-00728-SO
Plaintiff, )
) JUDGE SOLOMON OLIVER, JR.
)
VS. )
)
HOWMET AEROSPACE, INC., et al., )
)
Defendants. )

PLAINTIFF'S MEMORANDUM CONTRA DEFENDANT HOWMET AEROSPACE’S
MOTION FOR SUMMARY JUDGMENT

COMES NOW Robert Mercer, (“Plaintiff”), by and through counsel, and submits his
Memorandum Contra Defendant Howmet Aerospace Inc.’s Motion for Summary
Judgment (“Defendant Howmet’s Motion”). Plaintiff submits that Defendant Howmet’s
Motion filed on August 13, 2024, fails to show that there are no genuine disputes as to any
material facts and, therefore, as a matter of law, Defendant Howmet is not entitled to
summary judgment. Basically, given the fact that genuine issues of material fact exist,
summary judgment inappropriate. Fed R. Civ. P. 56 (a).

Plaintiff submits that there are genuine disputes as to the material facts stated below:

1. Whether Plaintiff was subjected to disparate treatment because of his race,

Black, when he was terminated on August 6, 2020, for his alleged violation of
Defendant Howmet’s Code of Conduct.

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 2 of 14. PagelD #: 2327

2. Whether Plaintiff was subjected to disparate treatment because of his race,
Black, when he was terminated on August 6, 2020, for his alleged violation of
Defendant Howmet’s social media Policy (“SMP”).

3. Whether Defendant Howmet’s SMP is void ab initio because it is contrary to
and adversely impairs Plaintiffs right to engage in protected activity
pursuant to Title VII, and R.C. § 4112.01 et seq.

4. Whether Defendant Howmet’s application and/or interpretation of its
purported SMP is a pretext for discrimination.

5. Whether or not Defendant Howmet actually disseminated and or actually
instructed employees on their purported SMP.

Defendant Howmet Aerospace Inc. (“Defendant Howmet”) through the conduct of
its officials and/or employees violated Title VII, and R.C. § 4112.01 et seq. by imposing
harsher discipline against Plaintiff solely because of his race, Black, and his previous
engagement in protected activity against Defendant Howmet. Plaintiffs Memorandum
Contra to Defendant Howmet’s Motion establishing that there are genuine disputed issues
of material fact is supported by Plaintiff's Affidavit, the Affidavits of current Defendant
Howmet employees Maurice Flether and Alvis Ford and former Defendant Howmet
employee Michael Dickson, which are attached as Exhibits 1, 2, 3, and 4, respectively.

I. SUMMARY JUDGMENT STANDARD

It is well established that Summary Judgment is only appropriate “if the movant
shows that there is no genuine dispute as to any material fact and that the movant is entitled
to judgment as a matter of law.” Fed R. Civ. P. 56 (a). All facts are to be construed in the light
most favorable to the nonmoving party. LaPointe v. United Autoworkers Local 600, 8 Fed.3d
376, 378 (6% Cir. 1993) “A dispute about a material fact is genuine ‘if the evidence is such
that a reasonable jury could return a verdict for the non-moving party.’ “Smith v. Perkins Bd.

Of Educ., 708 F.3d 821, 825 (6" Cir. 2013) (citing Ford v. Gen. Motors Corp., 305 F.3d 545, 551

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 3 of 14. PagelD #: 2328

(6 Cir. 2002). Since a court, when analyzing a motion for summary judgment must “view the
evidence in the light most favorable to the party opposing the motion.” it is clear, in the
present case, that the Defendant has not and, indeed, cannot establish the absence of genuine
issues of material fact. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587,
106 S. Ct. 1348, 89 L.E.2d 538 (1986) internal quotation omitted). Furthermore, since “all
reasonable inferences must be made in favor of the non-moving party.” -the reasonable
inferences in this case strongly favor the Plaintiff. Moran v. Al Basit LLC, 788 F.3d 201, 204
(6% Cir. 2015) quoting Little Caesar Enters., Inc. v. OPPCO, LLC, 219 F.3d 547, 551 (6 Cir.
2000). In summary, the Defendant as the moving party bears the burden of showing that no
genuine issues of material fact exist which, in the present situation, is not the case. Celotex
Corp. v. Catrett, 477 U.S. 317,324-325, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986).

Therefore, based on the reasons stated, herein, Plaintiff submits that Defendant
Howmet’s Motion for Summary Judgment filed on August 13, 2024, should be denied and
overruled.

II. STATEMENT OF THE CASE
On or about March 24, 2017, Defendant Howmet employee Brian Goans (“Goans”)
falsely accused Plaintiff of threating him on the plant floor, in the vicinity of a 50,000,000-
ton press (“Press”).1 Goans made the false allegations against Plaintiff because Plaintiff had
complained to Defendant Howmet Human Resources employees that Michael Korney, a
Caucasian, Utility Operator (“Korney”) had not been disciplined for creating a life threating
safety violation on the plant floor, on Friday, March 17, 2024 Based on Defendant

Howmet’s policy and practice of imposing harsher and disparate discipline against Black

1 Goans is now deceased.

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 4 of 14. PagelD #: 2329

and Hispanic employees, Plaintiff was of the legitimate belief that had a Black Utility
Operator, created a similar life threating safety violation he would have been subjected to
serious discipline.

Instead of addressing the safety violation created by Korney, Defendant Howmet
imposed a 30-day suspension against Plaintiff based upon Goans’ March 24, 2017, false
allegations that Plaintiff had threatened him. As a proximate result of Defendant
Howmet’s action in imposing a harsher discipline on Plaintiff his belief of disparity in the
imposition of discipline was reinforced. This belief was reinforced when Defendant
Howmet failed to discipline Korney for the life threating safety violation he created and
ignored Plaintiff's complaints that Black and Hispanic employees had consistently been
subjected to disparate disciplinary treatment as opposed to their Caucasian counterparts.

Because Defendant Howmet ignored Plaintiff's repeated complaints that Black and
Hispanic employees were being subjected to disparate treatment in the form of more severe
discipline, on July 15, 2020, Plaintiff began posting a series of social media reports detailing
the disparity that existed at Defendant Howmet facility. Plaintiffs action in posting and
detailing the disparity that existed constituted a protected activity pursuant to Title VII, and
R.C. § 4112.01 et seq. Plaintiff acknowledges that he has posted and continues to post on
the internet and various social media platforms content emphasizing, exposing and detailing
the ongoing and pervasive patterns and practices of racial discrimination that exist at
Defendant Howmet’s facility which are perpetrated by Defendant Howmet against Black
and Hispanic employees.

In spite of Plaintiff's social media activities being protected, Defendant Howmet

contends that Plaintiff's employment was terminated on August 6, 2020, because he

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 5 of 14. PagelD #: 2330

violated its Code of Conduct and Social Media Policy (“SMP”). However, prior to his
termination on August 6, 2020, Defendant Howmet had provided him no training on
whatever SMP was in place at the time. 2

In fact, the document Defendant Howmet purports to be a signature list of
employees that attended training of the SMP, actually makes no reference to a SMP and the
documentis titled as “Flight and Safety/Ethics.” (See Exhibit 5). Moreover, Plaintiff submits
that it is significant that Defendant Howmet seeks to support its Motion For Summary
Judgment, with the Affidavit of Tom Holbert’s and Exhibit 5. Plaintiff contends that he
has never seen the SMP before his deposition on June 25, 2024.

Interestingly, the SMP attached to Defendant Howmet’s Motion, is from Arconic,
but has no date. However, the SMP policy attached to Defendants UAW’s Motion for
Summary Judgment filed on September 15, 2024, is dated March 2020, and identified as
Exhibit U-7, which proves it could not have been presented to Plaintiff or any other
Defendant Howmet employee, October 17, 2019. The facts in this case clearly
demonstrate that Reasonable minds could not conclude such a course description would be
about a social media policy. And, consequently, there is a genuine issue of material fact as to
whether Defendant Howmet actions in justifying Plaintiff's termination based on a SMP
was a pretext for racial discrimination. Plaintiff has unwaveringly testified to never having

seen nor aware of a SMP, 3

2 See Exhibit 5.
3 Arbitration, Volume III, November 30, 2021, page 465; Deposition Plaintiff, June 25, 2024, page 23.

5

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 6 of 14. PagelD #: 2331

Regardless as to whether or not there was or was a SMP, Defendant Howmet’s SMP
is void in its entirety and constitutes a direct violation of Plaintiff's rights to engage in
protected activity under Title VII, and R.C. § 4112.01 et seq.

In summary, Plaintiff contends that the fact of the harsher discipline imposed on
Black and Hispanic employees as opposed to their similarly situated Caucasian counterparts,
constitutes a genuine issue of material fact that would render summary judgment
inappropriate. Indeed, there is nothing in Defendant Howmet’s Motion for Summary
Judgment refutes the genuine issues of material that Plaintiff's discipline and termination
was part and parcel of intentional discriminatory treatment by Defendant Howmet.

Il. ENUINE I M L

As previously indicated, there are genuine disputes as to the material facts
of this case, including whether Plaintiff was subject to a harsher and more severe discipline,
engaged in protected activity and was terminated and subject to retaliation based on his race

A. THERE EXISTS A GENUINE ISSUE OF MATERIAL FACT AS TO WHETHER

PLAINTIFF'S TERMINATION CONSTITUTED DISPARATE TREATMENT BASED
ON HIS RACE

As a threshold matter, Defendant Howmet makes reference to the well-established
standard for establishing a prima facie case of racial discrimination articulated in McDonnell
Douglas Corp. v. Green, 411 U.S. 79 (1973). As set forth in McDonnell Douglas, a prima facie
case of discrimination exists when the plaintiff establishes that he or she is:

(1) Within a class of persons that Title VII seeks to protect.
(2) Qualified for the position;

(3) Terminated;

(4) Replaced by a person outside the protected class
6

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 7 of 14. PagelD #: 2332

Plaintiff acknowledges the McDonnell Douglas analysis as the correct standard and
statement of the law. Significantly, pursuant to McDonnell Douglas and its progeny, a prima
facie case is established by any “evidence adequate to create an inference that an
employment decision was based upon a discriminatory criterion, illegal under the act.
Teamsters v. United States 431 U.S. 324, 358 (1977). The facts in this case establish that there
was significant disparity between the discipline imposed on Plaintiff, as opposed to the
discipline imposed on similarly situated White employees. The essence of a disparate
treatment case is that “the employer simply treats some people less favorably than others
because of their race, color, religion, sex or national origin.” Talley v. Bravo Pitino Restaurant,
Ltd, 61 F.3d 1241 (6 Cir. 1995) (quoting Shah v. General Electric Co., 816 F.2d 264 (6% Cir.
1987)

In the present situation, Plaintiff can establish that similarly situated White
employees were treated more favorably and were not disciplined or terminated for
transgressions of company rules. Indeed, in comparing the treatment received by Plaintiff
to similarly situated white employees, it is clear that harsher discipline was imposed on
Plaintiff than his white counterparts. Contrary to Plaintiffs contention in their Motion for
Summary Judgment, there exists substantial evidence of more favorable treatment of
similarly situated white employees which satisfies the fourth prong of the McDonnell
Douglas test.

Plaintiff has produced the affidavits of persons that are familiar with the situation at
Howmet, including the treatment of current and former employees. These affidavits
document and detail the disparate treatment and discipline that was imposed on Black

employees and the “more favorable” treatment afforded to their white counterparts.

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 8 of 14. PagelD #: 2333

1. AFFIDAVIT OF MAURICE FLETCHER

The sworn affidavit of Maurice Fletcher describes the racist environment that existed
at Howmet. Mr. Fletcher, a military veteran, had been employed at Howmet since 1997 and,
for over three years, served as a Forge Vice Chaiman. Mr. Fletcher’s affidavit describes in
detail the toxic and discriminatory environment at Howmet’s facility. In Mr. Fletcher's role
as Forge Vice Chairman he observed a number of situations in which Black workers were
treated differently than their White counterparts. One such example of racial disparity
identified in Mr. Fletcher’s Affidavit consists of an incident in 2021 in which Mr. Fletcher was
asked to review video footage that showed someone creating a mess by stuffing wads of
toilet paper into the commodes. However, Mark Mohn Chairman of the forge plant along
with his brother, Local 1050 President, Don Mohn, provided him with hand-selected portions
of the videos that had been previously screened and were inconclusive. In spite of the fact
that the hand-picked videos were inconclusive, Howmet chose to discipline and terminate
the employment of the lone Black suspect. As stated, although the video footage was
inconclusive, there was also a White suspect who was never investigated or disciplined.
When Mr. Fletcher raised his concern about the disparity of treatment to the Mohn brothers,
their replies to him were deceitful and indicative of a concerted effort to simply get rid of the
Black employee.

Mr. Fletcher’s Affidavit also addresses Shontel Brown, a Black employee who while
on FLMA due to a medical condition was investigated and video recorded by private
investigators. She was, eventually, terminated although the surveillance videos did not
indicate that she was violating the terms of her approved FMLA. The videos did show her

being involved in innocent, day-to-day functions, performing routine tasks including driving
Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 9 of 14. PagelD #: 2334

to the store to pick up food or medication. In fact, following the detailed investigation there
existed no legitimate basis for termination of her employment. This type of treatment was
not imposed on White employees and provides evidence and an inference that there was
disparity in the manner in which Howmet addressed issues involving African American

employees as opposed to their White counterparts.

In another instance, Mr. Fletcher’s affidavit made reference to was the company’s
discriminatory actions involving African American, Winston Zachery. Winston Zachary
was terminated for being one minute late in reporting to work. Although Mr. Zachery had
prior incidents on his record, he was a good employee and proffered a legitimate reason for
being one minute late. He explained that his lateness was due to the fact that he hada special
needs child and the regular babysitter had called-off sick due to COVID pandemic. Under
these circumstances he had to make other arrangements and locate another sitter on
extremely short notice. None of this was considered by Howmet although Holmet was
known to grant exceptions to White employees. In the Zachery Winston case and in spite of
the economic strain that he suffered in losing his job during the COVIC 19 pandemic he was
summarily terminated. Clearly, the manner in which Howmet handled Mr. Zachary’s
situation compared to the manner in which they handled similarly situated White employees
who committed similar minor infractions, draws the inference that there was a double

standard, one for Blacks employees and another for their white counterparts.

2. TESTIMONY OF AUBREY GARDNER

Union Representative Aubrey Gardner’s testimony during the arbitration hearing

indicated that White employees routinely smoked on the job in the presence of their

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 10 of 14. PagelD #: 2335

supervisors. However, Brandon Moore, a Black employee was terminated for allegedly
violating the same rule violation, i.e. smoking on the job. In another instance Marcus
Knowles, a Black employee was suspended for 30 days for allegedly sleeping on the job
although a number of White employees were filmed, sleeping on the job and were not
subjected to discipline until the Plaintiff's video was released. In fact, the YouTube videos
that has become the subject of much of the controversy corroborates the fact that numerous
White employees routinely slept on the job without any repercussions. Under these
circumstances Mercer actually did the company a service by exposing the actions of workers
violating company rules and the Code of Conduct. However, instead of addressing the
situation or commending Mercer for his actions in exposing the situation, Howmet
designated Mercer as a “problem” and embarked on a course to first suspend and then
terminate him from employment. Since this type of conduct did not occur with White
employees prior to the release of the Youtube videos, the reasonable inference is that
similarly situated White employees were afforded better treatment and Mercer’s discipline

and termination constituted discrimination.

3. AFFIDAVIT OF ALVIS FORD

Alvis Ford in his sworn affidavit identified continuing and pervasive issues of racial
disparity at Howmet. Mr. Ford had been an employee of Howmet’s predecessor companies
and Howmet since 1998. Mr. Ford was personally aware of the fact that following Mr.
Mercer’s termination, he was escorted from the building in the presence of other Howmet
employees and forced to walk the “Walk of Shame.” In the instances in which White

employees were terminated, they were simply given notice that their employment was

10

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 11 of 14. PagelD #: 2336

terminated and not to report to the Howmet facility. Under the circumstances of an
employee who supports his family and including during that economically strained unknown
time period during COVID Mr. Fletcher has seen Howmet grant exceptions to the being late
rule in the past to White employees. Yet, instead of granting an exception under these dire

circumstances, Mr. Zachery’s employment was terminated.

In addition to the blatant acts discrimination, of favoritism existed in violation of the
Human Resources polices. For example, Mark Mohn’s paramour, Karen Becker, a White
employee, was moved from an employment position on the floor to an office job that HR
failed to publicly post. Minorities were excluded from applying for the job although job
posting was, in theory a company policy. Under these circumstances she was given

preferential treatment.

4, AFFIDAVIT OF ROBERT MERCER

Robert Mercer’s affidavit explains the disparity in his treatment compared to his
Caucasian co-workers. He was repeatedly harassed and subjected to discipline. Obviously,
Howmet concluded that Mercer was a problem and through its supervisory personnel took
action to terminate his employment. Basically, Robert Mercer was afford treatment that was
harsher than his Caucasian counterparts which creates an inference of disparate treatment

and racial discrimination.

IV. CONCLUSION

As was previously noteD a prima facie case is established by “evidence adequate to

create an inference that an employment decision was based upon a discriminatory criterion,

11

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 12 of 14. PagelD #: 2337

illegal under the act. Teamsters v. United States, Supra In the case of racial discrimination, it
is reasonable to infer that a person in a protected class who is treated less favorably than
similarly situated persons not members of any protected class were victims of

discrimination.

In the present situation, there is both direct and circumstantial evidence of racial
discrimination. The direct evidence involves the use of racial expletives directed towards
racial minorities. Use of racial jokes, the racial graffiti that was scrawled on the lavatory
without any real investigation and/or repercussions on the part of Howmet strongly
suggests that they were complicit in the discriminatory/toxic atmosphere that was fostered
at Howmet. Aside from the direct evidence that has been presented, there is a basis for

inferences of racial discrimination.

The Plaintiff was a member of a protected class, his qualifications for the position
were never questioned he was terminated under circumstances that strongly suggest that
race was a motivating factor while persons outside the protected class maintained

employment at Howmet.

Therefore, considering all of the evidence in the light most favorable to the Plaintiff

as the non-moving party, the Defendant’s Motion for Summary Judgment should be denied.

Respectfully submitted,

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Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 13 of 14. PagelD #: 2338

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CERTIFICATE OF SERVICE
A copy of the foregoing Brief will be served on all counsel of record through the
Court’s electronic filing system.

Respectfully submitted,

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13

Case: 1:23-cv-00728-SO Doc #: 60 Filed: 09/23/24 14 of 14. PagelD #: 2339

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